Case 1:05-cv-01032-.]DT-STA Document 54 Filed 07/18/05 Page lof3 Page|D_"ZQ

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IN THE UNITED STATES DISTRICT CoURT ./g( ~
FoR THE WESTERN I)ISTRICT oF TENNESSEE /,9 0
EASTERN DIvISIoN 635 fig '°/y /_ 'Q

WOOD M. DEMING, M.D., et al.,
Plaintiffs,
NO.: 05-1032-T-An

VS.

JACKSON-MADISON COUNTY
GENERAL HOSPITAL DISTRICT, et al.,

‘-_/\_/`\_/WW\-/\.,/\./\_d\_/

Defendants.

 

ORDER CANCELING SCHEDULING CONFERENCE

 

Pursuant to a Notice of Setting, a FED. R. CIV. P. Rule 16(b) Scheduling Conference Was
set for July 29, 2005.

However, on July 5 , 2005, Counsel for the Defendants filed a Motion to Postpone
Scheduling Conference and Entry of a Scheduling Order and to Temporarily Suspend
Defendants’ Obligations under Rule 26 and Motion for Protective Order to Stay Discovery.
(D.E. # 42). Plaintiffs have not yet responded to the motion.

F‘or the reasons set forth, the Scheduling Conference set for July 29, 2005 shall be re-Set

after the Plaintiffs have responded and the Court has ruled on the pending motion in this matter

Thls document entered on the docket she compliance
with Rule 58 and,'or,?B (a) FF|CP on \>\

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IT IS SO ORDERED.

 

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Dated: nga /G; 2003/
C/ / ’

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 54 in
case 1:05-CV-01032 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

